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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                     Exhibit 7
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                                                                        Page 1

 1                        UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
 2                              COLUMBIA DIVISION
 3         THE SOUTH CAROLINA
           STATE CONFERENCE OF
 4         THE NAACP, et al,
 5                         Plaintiffs,
 6                  vs.                    CASE NO.
                                           3:21-CV-03302-MBS-TJH-RMG
 7         THOMAS C. ALEXANDER,
           et al,
 8
                           Defendants.
 9
10         VIDEOCONFERENCE
11         DEPOSITION OF:      WILLIAM ROBERTS
12         DATE:               July 7, 2022
13         TIME:               9:35 a.m.
14         LOCATION:           1310 Gadsden Street
                               Mahogany Conference Room
15                             Columbia, SC
16         TAKEN BY:           Counsel for the Plaintiffs
17         REPORTED BY:        ERIC GLAZIER, Court Reporter
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19
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21
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23
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25

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                                                                  Page 107

 1         who was involved in drawing maps for congressional
 2         redistricting on how that history might play into
 3         congressional districts?
 4                  A.   Not that I recall at this point.
 5                  Q.   Do you understand the history of
 6         discrimination at all to factor into compliance
 7         with Section 2 of the Voting Rights Act?
 8                       DEFENSE COUNSEL:            John, I'm going
 9         object to that to the extent it calls for a legal
10         opinion, since the witness is not a lawyer.
11                       MR. CUSICK:        Yep.
12                       THE WITNESS:         Could you repeat the
13         question?
14         BY MR. CUSICK:
15                  Q.   In your work from a technical side, in
16         compliance with Section 2, do you at all consider
17         history when you were drawing congressional maps?
18                  A.   Not when we were drawing congressional
19         maps.    We didn't look at the historic history of
20         discrimination, no.
21                  Q.   Do you recall public testimony saying
22         that's a factor that should matter?
23                  A.   I don't recall at this moment.
24                  Q.   Did you look at any political
25         characteristics for communities of interest?

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 1         minority candidate of choice.
 2                  Q.   And do you have any understanding on
 3         whether an RPV analysis is helpful for that
 4         determination?
 5                  A.   I don't know.         I've never conducted a
 6         racially polarized voting analysis.
 7                  Q.   Have you worked on any redistricting
 8         efforts where an RPV analysis was conducted?
 9                  A.   I don't recall.
10                  Q.   And did I hear you don't recall whether
11         it was at all discussed in any of the federal cases
12         that you worked on as a technical advisor?
13                  A.   That's correct.          I don't recall if it
14         was -- I never analyzed any RPV analysis.
15                  Q.   Even if you didn't conduct an analysis,
16         are you aware that cartographers who draw maps do
17         look at RPV analyses?
18                  A.   Could you repeat that question?
19                  Q.   Even if you didn't conduct an RPV
20         analysis, based on your expertise in the field, are
21         you aware that map drawers might look to RPV
22         analyses when they're drawing maps?
23                  A.   Yes.
24                  Q.   And what is your understanding on why
25         they might do that?

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